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                    EXHIBIT S
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                 Pharmaceutical Industry–Sponsored Meals and Prescribing Patterns                                                   Original Investigation Research




                 P
                         hysician-industry relationships—including sponsored
                         meals and promotional speaking fees—are at the cen-                  Key Points
                         ter of an international debate, intensified by recent
                                                                                              Question Is the receipt of pharmaceutical industry-sponsored
                 transparency efforts in the United States and the European                   meals by physicians associated with their prescribing the
                 Union.1-5 In the United States, in the last 5 months of 2013, 4.3            promoted brand-name drug at higher rates to Medicare
                 million industry payments totaling $3.4 billion were made to                 beneficiaries?
                 more than 470 000 physicians and 1000 teaching hospitals.1
                                                                                              Findings In this cross-sectional study of 279 669 physicians,
                 Although some argue that industry-sponsored meals and pay-                   physicians who received a single meal promoting the drug of
                 ments facilitate the discussion of novel treatments,6,7 others               interest, with a mean value of less than $20, had significantly
                 have raised concerns about their potential to influence pre-                 higher rates of prescribing rosuvastatin as compared with other
                 scribing behavior.8,9                                                        statins; nebivolol as compared with other β-blockers; olmesartan
                      Studies suggest that physician-industry relationships are               as compared with other angiotensin-converting-enzyme inhibitors
                                                                                              and angiotensin-receptor blockers; and desvenlafaxine as
                 associated with increased prescribing of brand-name drugs.
                                                                                              compared with other selective serotonin and serotonin-
                 Although most studies have relied on physician surveys10-13                  norepinephrine reuptake inhibitors.
                 or regional data,14,15 recent analyses of physician-specific pay-
                 ment records found a positive association between physi-                     Meaning Receipt of industry-sponsored meals was associated
                                                                                              with an increased rate of prescribing the promoted brand-name
                 cians’ receipt of industry payments and the total percentage
                                                                                              medication to Medicare patients.
                 of their Medicare Part D prescriptions that are written for brand-
                 name drugs.4,16,17 These analyses, however, did not identify
                 the specific drug being promoted by each payment or assess                     Drugs prescribed 10 or fewer times in a calendar year are
                 the link between promotion and prescribing of individual                  not reported in that physician’s Medicare prescribing record;
                 drugs. In one study, the association between payments and pre-            to ensure that this redaction—which may affect our analysis
                 scribing was only significant among physicians who received               of low-volume prescribers—did not significantly affect our re-
                 at least $2000 from industry.16 It is not known whether much              sults, we conducted a sensitivity analysis in which we in-
                 smaller payments, such as sponsored meals, are associated with            creased our study group inclusion threshold from 20 to 200
                 increased prescribing of the promoted brand-name drug over                prescriptions in the class.
                 therapeutic alternatives.
                      We linked physician data sets from the Open Payments pro-            Selection of Target Drugs
                 gram and Medicare Part D to examine the association be-                   We identified the most-prescribed brand-name drug in each
                 tween industry payments and prescribing rates of the brand-               of the 4 drug categories in Medicare Part D in 2013. We re-
                 name medications that were being promoted. We focused on                  quired that each drug be patent protected through December
                 meals sponsored by the pharmaceutical industry, which con-                2014 and therefore not subject to pharmacy-level automatic
                 stitute nearly 80% of the total number of payments by drug                substitution laws22 or declining promotion by the manufac-
                 and device manufacturers to physicians.1                                  turer in the last year of patent protection.23 The resulting tar-
                                                                                           get drugs were rosuvastatin calcium (Crestor; AstraZeneca)
                                                                                           among statins, nebivolol (Bystolic; Forest Laboratories) among
                                                                                           cardioselective β-blockers, olmesartan medoxomil (Benicar;
                 Methods
                                                                                           Daiichi Sankyo) among ACE inhibitors and ARBs, and desven-
                 Study Population                                                          lafaxine succinate (Pristiq; Pfizer) among SSRIs and SNRIs.
                 This study was approved by the institutional review board at                   The US Food and Drug Administration (FDA) approved all
                 the University of California, San Francisco. We identified phy-           4 target drugs 5 to 11 years before the study period, and all have
                 sicians who appeared in both Physician Compare18 and the 2013             generic alternatives in their class.24 There is limited, mixed,
                 Medicare Part D Prescriber file,19 which reports an end-of-year           or contrary evidence about the superiority of these 4 drugs over
                 count of each physician’s filled prescriptions. We excluded phy-          generic alternatives,25-28 and all 4 are excluded from the na-
                 sicians whose total number of brand-name prescriptions was                tional formulary for the US Department of Veterans Affairs
                 redacted because of low claim count. From this population, we             medical sytem.29
                 created 4 study groups, each containing physicians who wrote
                 more than 20 filled prescriptions in 1 of 4 drug categories: 3-hy-        Measures of Industry Payments
                 droxy-3-methylglutaryl coenzyme A reductase inhibitors (stat-             The 2013 Open Payments database describes the value and the
                 ins), cardioselective β-blockers without sympathomimetic                  drug or device being promoted for all payments to physicians
                 activity, angiotensin-converting enzyme inhibitors and angio-             from August through December 2013, as reported by pharma-
                 tensin receptor blockers (ACE inhibitors and ARBs), and selec-            ceutical companies. Of the records, 95% identify a specific drug
                 tive serotonin and serotonin-norepinephrine reuptake inhibi-              or device. Group payments, such as sponsored meals, are di-
                 tors (SSRIs and SNRIs). These classes are first-line treatments           vided in value among the physicians present; when it is impos-
                 for common conditions and have been included in previous                  sible to identify recipients (such as when refreshments are of-
                 studies of prescribing of brand-name drugs.20,21 Individual phy-          fered to all attendees of an annual conference), the payment is
                 sicians could be included in more than 1 study group (eTable 1            exempt from reporting. Because the first release of Open Pay-
                 and eFigure in the Supplement).                                           ments data included records that were disputed during the phy-

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               Research Original Investigation                                                  Pharmaceutical Industry–Sponsored Meals and Prescribing Patterns



               sician review process, we examined data from the second re-            sis to physicians who received at least 1 meal and adjusted for
               lease and excluded any remaining disputed payments.                    the mean cost per meal received by each prescriber (<$20 or
                    We identified all target payments—defined as those pro-           ≥$20). Next, in effect modifier analyses, we assessed whether
               moting 1 of the 4 target drugs—made to physicians in the study         the association between number of days receiving a meal and
               groups. We included payments promoting multiple prod-                  prescribing of a target drug was affected by mean cost per meal.
               ucts. We used physician name and location to link each phy-                 We conducted a sensitivity analysis using propensity score
               sician’s payments with his or her prescription records, and ex-        matching. We created a dichotomous outcome variable indi-
               cluded physicians with identical matching criteria to avoid            cating whether a physician received any target meals; calcu-
               inadvertently matching 1 physician’s prescribing records with          lated individual propensity scores using grouped logistic re-
               another physician’s payment records.                                   gression models, with the baseline characteristics in Table 1
                    The exposure of interest was industry-sponsored meals. Be-        included as predictor variables; and reran our main regression
               cause meals were often reported as multiple small food pay-            analysis while controlling for the decile of propensity score.
               ments on the same day, our primary measure of industry con-                 To isolate the association between prescribing and pro-
               tact was number of days receiving a meal related to the                motion of a specific drug, rather than general exposure to in-
               promotion of a target drug during the 5-month study period.            dustry promotion, we conducted a falsification test. Using the
               We limited our regression analysis to the 91% to 99% of physi-         aforementioned regression methods, we assessed whether re-
               cians in each group whose only payments related to target drugs        ceipt of meals targeting rosuvastatin predicted desvenlafax-
               were for meals, excluding those who received other types of pay-       ine prescribing among physicians who received no desvenla-
               ment, such as research grants, consulting, and royalties.              faxine payments, and vice versa.
                                                                                           We performed a sensitivity analysis on rosuvastatin, which
               Measures of Prescribing                                                is 1 of the 2 high-intensity statins (rosuvastatin and atorva-
               For each physician, relative rates of prescribing a target drug        statin calcium) that are available in the United States and rec-
               were calculated as a percentage of that physician’s total Medi-        ommended in clinical guidelines for patients with clinical ath-
               care Part D prescriptions in the drug category in 2013. Our pri-       erosclerotic cardiovascular disease or severe hyperlipidemia.32
               mary analysis did not standardize prescriptions by quantity of         To reduce the potential impact of case mix on our results, we
               medications supplied; we conducted a sensitivity analysis in           recalculated relative prescribing rates of rosuvastatin as a per-
               which we standardized claims to 30-day supplies.                       centage of filled claims for only rosuvastatin or atorvastatin,
                                                                                      and reran the multivariable regression analysis.
               Covariates                                                                  All P values were 2-tailed, and P ≤ .05 was considered
               We adjusted for each physician’s specialty; sex; region; prac-         significant. Analyses were conducted using R, version 3.1.2
               tice size; number of years since medical school graduation; ru-        (R Foundation for Statistical Computing), and SAS software,
               ral or urban practice setting30; median household income in            version 9.4 (SAS Institute).
               zip code according to 2000 US Census data31; prescribing vol-
               ume within the drug class of interest in Medicare Part D; over-
               all rate of brand-name drug prescribing across all drug classes
               in Medicare Part D; and percentage of prescriptions written for
                                                                                      Results
               low-income subsidy beneficiaries, who have limited cost shar-          The study population included 279 669 physicians (eFigure in
               ing for brand-name drugs, and Medicare Advantage benefi-               the Supplement). Of these, 155 849 physicians wrote more than
               ciaries, who obtain prescriptions through a managed care               20 prescriptions in 1 of the 4 target drug classes and were as-
               model with associated formulary differences.                           signed to study groups. Characteristics of the 4 study groups
                                                                                      are presented in Table 1. A total of 129 675 (83%) of the sample
               Statistical Analysis                                                   physicians were assigned to multiple study groups, and 88 724
               First, using χ2 tests for categorical variables and 2-sample t tests   (57%) were included in all 4 groups.
               for continuous variables, we tested the association between                 Across the 4 study groups, 2% to 12% of physicians
               the aforementioned covariates and receipt of industry pay-             received payments promoting the target drug (Table 2). Of
               ments. We then compared mean rates of target-drug prescrib-            63 524 payments (total value of $1.4 million) related to target
               ing among physicians who received meals related to target              drugs, 95% were for sponsored meals, with a mean value of
               drugs on 0 to 4 or more days during the study period. We used          $12 to $18 per meal. The remaining 5% of payments promot-
               Cochrane-Armitage trend tests to assess trends in prescribing          ing the target drugs included speaking fees, honoraria, travel
               behavior between groups.                                               expenses, and education (such as providing free textbooks
                   Next, using multivariable grouped logistic regression mod-         or journal articles); physicians receiving these nonmeal pay-
               els with binomial physician-level prescribing data, and adjust-        ments were excluded from the regression analysis. Rosuvas-
               ing for the aforementioned covariates, we measured the as-             tatin represented 8.8% (SD, 9.9%) of statin prescriptions;
               sociation between the number of days that a physician received         nebivolol represented 3.3% (7.4%) of cardioselective
               meals related to target drugs and his or her prescribing rate of       β-blocker prescriptions; olmesartan represented 1.6% (3.9%)
               the promoted drug as a proportion of prescriptions in the class.       of ACE inhibitor and ARB prescriptions; and desvenlafaxine
                   To examine the relationship between cost per meal and              represented 0.6% (2.6%) of SSRI and SNRI prescriptions.
               prescribing patterns, we first restricted our regression analy-        Physicians who received meals related to target drugs had a

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               Figure 2. Predicted Probabilities for Prescribing the Target Drug as a Percentage of All Prescriptions in the
               Class, According to the Number and Cost of Sponsored Meals Received by Each Physician

                  A Rosuvastatin-sponsored meals                                                            B             Nebivolol-sponsored meals
                                                  12                                                                                        12




                                                                                                         Nebivolol (Bystolic) Prescribing
                                                                                                                                                                                             The figure shows predicted




                                                                                                          Rate Among Cardioselective
                                                       Mean cost per meal contact, $                                                                                                         probabilities for prescribing the
               Prescribing Rate Among




                                                                                                                                            11
                Rosuvastatin (Crestor)




                                                  11     <20
                                                                                                                                            10                                               target drug over alternatives within
                                                         ≥20




                                                                                                                 β-Blockers, %
                                                                                                                                                                                             the treatment class, based on the
                      Statins, %




                                                  10                                                                                        9
                                                                                                                                                                                             cost and number of meals received
                                                  9                                                                                         8                                                promoting the target drug. Predicted
                                                                                                                                            7                                                probabilities are calculated for
                                                  8                                                                                                                                          physicians with the
                                                                                                                                            6
                                                                                                                                                                                             highest-frequency values of all
                                                  7                                                                                         5
                                                        1             2                3        ≥4                                               1           2            3           ≥4
                                                                                                                                                                                             characteristics in Table 1 (male sex,
                                                                                                                                                                                             internal medicine specialty, Southern
                                                                 Days of Sponsored Meals                                                                 Days of Sponsored Meals
                                                                                                                                                                                             region, urban location, group size
                                                                                                                                                                                             ⱖ51, ⱖ20 years since medical school
                  C             Olmesartan-sponsored meals                                                 D Desvenlafaxine-sponsored meals                                                  graduation, and mean values for
                                                                                                                                                                                             prescribing volume, income in zip
               Olmesartan (Benicar) Prescribing




                                                  5                                                                                         5

                                                                                                         Prescribing Rate Among SSRIs
                                                                                                                                                                                             code, and percentage of low-income
                 Rate Among ACE Inhibitors




                                                                                                            Desvenlafaxine (Pristiq)
                                                  4                                                                                         4                                                subsidy and Medicare Advantage
                                                                                                                  and SNRIs, %                                                               Part D patients). A, Statins.
                        and ARBs, %




                                                  3                                                                                         3                                                B, Cardioselective β-blockers.
                                                                                                                                                                                             C, Angiotensin-converting-enzyme
                                                  2                                                                                         2
                                                                                                                                                                                             inhibitors and angiotensin-receptor
                                                                                                                                                                                             blockers (ACE inhibitors and ARBs).
                                                  1                                                                                         1
                                                                                                                                                                                             D, Selective serotonin and
                                                  0                                                                                         0                                                serotonin-norepinephrine reuptake
                                                        1             2                3        ≥4                                               1           2            3           ≥4     inhibitors (SSRIs and SNRIs). Error
                                                                 Days of Sponsored Meals                                                                 Days of Sponsored Meals             bars indicate 95% confidence
                                                                                                                                                                                             intervals.




               number of days receiving sponsored meals was also signifi-
               cant for all drugs except desvenlafaxine, but the interaction                                                                         Discussion
               effects were too small to be qualitatively meaningful (data not
               shown).                                                                                                                               We linked 2 national data sets to quantify the association be-
                    In sensitivity analyses adjusted for propensity score decile                                                                     tween industry payments and physician prescribing pat-
               (eTable 4 in the Supplement), receipt of meals related to tar-                                                                        terns. We found that the receipt of industry-sponsored meals
               get drugs was associated with increased odds of prescribing                                                                           was associated with an increased rate of prescribing the brand-
               rosuvastatin (adjusted OR, 1.19; 95% CI, 1.19-1.20), nebivolol                                                                        name medication that was being promoted.
               (OR, 1.79; 95% CI, 1.78-1.80), olmesartan (OR, 1.74; 95% CI, 1.73-                                                                         As compared with the receipt of no industry-sponsored
               1.75), and desvenlafaxine (OR, 2.30; 95% CI, 2.25-2.34). In fal-                                                                      meals, we found that receipt of a single industry-sponsored
               sification tests (eTable 5 in the Supplement), receiving a des-                                                                       meal, with a mean value of less than $20, was associated with
               venlafaxine-related meal did not predict rosuvastatin                                                                                 prescription of the promoted brand-name drug at signifi-
               prescribing (OR, 0.99; 95% CI, 0.98-1.00); receiving a rosu-                                                                          cantly higher rates to Medicare beneficiaries. The differences
               vastatin-related meal predicted desvenlafaxine prescribing, but                                                                       persisted after controlling for prescribing volume and poten-
               with much smaller effect sizes than desvenlafaxine-related                                                                            tial confounders such as physician specialty, practice setting,
               meals (OR, 1.22; 95% CI, 1.20-1.24 compared with OR, 2.18; 95%                                                                        and demographic characteristics. Furthermore, the relation-
               CI, 2.13-2.23 for desvenlafaxine-related meals).                                                                                      ship was dose dependent, with additional meals and costlier
                    Our findings were unchanged when study group inclu-                                                                              meals associated with greater increases in prescribing of the
               sion criteria were increased from 20 to 200 prescriptions in                                                                          promoted drug. Our findings were consistent across 4 brand-
               the class (eTable 6 in the Supplement), when claims were stan-                                                                        name drugs, including rosuvastatin, the third-costliest drug
               dardized to 30-day supplies (eTable 7 in the Supplement), and                                                                         in Medicare Part D ($2.2 billion in federal expenditures in 2013)
               in a sensitivity analysis of only high-intensity statins, with                                                                        after esomeprazole magnesium (Nexium) and fluticasone pro-
               slightly smaller effect sizes (eTable 8 in the Supplement).                                                                           pionate/salmeterol (Advair Diskus).33
                    Other physician-level predictors of target-drug prescrib-                                                                             Our results are consistent with recent analyses that linked
               ing (Table 3) included high brand-name drug use across all                                                                            federal or state-level physician payment records with Medi-
               medication classes, being in solo or small-group practice,                                                                            care Part D prescribing data. These studies found that indus-
               graduating from medical school more than 5 years ago, prac-                                                                           try payments in general (rather than payments linked to a spe-
               ticing in the South, and being a psychiatrist (for desvenlafax-                                                                       cific drug) were associated with an overall increase in the
               ine) or a cardiologist (for rosuvastatin and nebivolol).                                                                              prescribing of brand-name drugs.4,16,17 However, the analy-



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                 ses did not link the promotion of specific drugs with prescrib-                    and should be incorporated into the European pharmaceuti-
                 ing rates for those drugs. A study of 2444 Massachusetts phy-                      cal industry’s recent transparency initiative, which requires
                 sicians found that for every $1000 received from industry (for                     drug companies to publicly report payments to physicians with
                 any drug), a physician’s brand-name statin prescribing rate in-                    the exception of food and drinks.5
                 creased by 0.1%.16 In comparison, our study found a signifi-                            Future research could compare industry-sponsored meals
                 cant association between attending a single meal promoting                         and other methods for disseminating drug information, such as
                 a specific drug, with a mean value of less than $20, and the pre-                  academic detailing40 and independent drug bulletins,41 with re-
                 scribing of the promoted drug over therapeutic alternatives.                       spect to the cost and quality of prescribing. The methods used in
                      Our findings are also consistent with smaller studies that re-                this study could be applied to other payment types, to drugs with
                 lied on physician self-report or institution-level data.10-13 In single-           varying degrees of generic competition and cost-effectiveness,
                 hospital studies, exposure to sponsored meals has been associ-                     and to brand-name drugs that compete within the same class.
                 ated with increased clinic-wide use of the promoted drug,15                             This study has several limitations. In addition to the cross-
                 choice of the promoted drug when presented with a clinical                         sectional design and timing of the data (5 months of payment
                 scenario,34 and requests to add the promoted drug to the hos-                      data and 12 months of prescription data), unmeasured con-
                 pital formulary.35 Marketing studies demonstrate that industry                     founders may bias our results. The 5 months of Open Pay-
                 outreach to physicians facilitates the adoption of new drugs36;                    ments data may not be representative of a full year. The ques-
                 however, the content of these presentations is not actively moni-                  tions that we examined should be evaluated with alternative
                 tored by the FDA. Industry-sponsored meals have been associ-                       study designs and additional years of data. We linked data sets
                 ated with learning inaccurate information about the sponsor’s                      using physician name and location, which may have intro-
                 and competitor’s drug37 and with increased cost of prescribing.38                  duced inaccuracies despite exclusion of physicians with iden-
                      Our data are cross-sectional. The findings reflect an asso-                   tical matching criteria. We did not measure the use of thera-
                 ciation, and not necessarily causality. Because we linked 5                        peutic alternatives from other drug classes, and our analysis did
                 months of Open Payments data with 1 year of Medicare Part D                        not differentiate between new indications and refills or adjust
                 prescription data, we also could not determine whether high                        for physicians’ patient panel size or case mix. However, case mix
                 prescription rates for brand-name drugs were preceded, fol-                        is unlikely to fully explain variability after controlling for phy-
                 lowed, or temporally unrelated to the receipt of industry-                         sician- and panel-level characteristics. In addition, our sensi-
                 sponsored meals. The policy implications of our findings thus                      tivity analysis of high-intensity statins, which was intended to
                 depend on further clarification of the mechanism of the asso-                      make patient populations more homogenous between physi-
                 ciation between the receipt of industry-sponsored meals and                        cians, was consistent with our other findings.
                 physician prescribing behavior. If events where industry-                               Limitations of the Open Payments data include minimal pre-
                 sponsored meals are provided affect prescribing by inform-                         release vetting by physicians,2 nonreported payments (includ-
                 ing physicians about new evidence and clinical guidelines, then                    ing free drug samples and patient education materials), limited
                 the receipt of sponsored meals may benefit patient care. If phy-                   information about the accuracy of the data, and deidentified and
                 sicians, however, choose to attend industry events where in-                       disputed payments, which were excluded. The exemption of in-
                 formation is provided about drugs they already prefer, then                        direct payments with unidentifiable recipients (such as refresh-
                 meals may have no affect on prescribing patterns. If, alterna-                     ments at large conferences) is a limitation but improves the pre-
                 tively, meals change physicians’ prescribing practices as a re-                    cision of the database as a whole by restricting reported payments
                 sult of promotional influence, either by encouraging future use                    to those that can be accurately attributed.
                 or rewarding an ongoing preference for the promoted drug, this
                 would be cause for concern.
                      Our findings support the importance of ongoing transpar-
                 ency efforts in the United States and Europe.1,3,5 Although vol-
                                                                                                    Conclusions
                 untary guidelines from the Manufacturers of America allow                          The receipt of industry-sponsored meals was associated with
                 meals and gifts to physicians of up to $100 in value,39 our find-                  an increased rate of prescribing the promoted brand-name
                 ings indicate that even payments of less than $20 are associ-                      medication relative to alternatives within the drug class. The
                 ated with different prescribing patterns. Small payments and                       findings represent an association, not a cause-and-effect
                 meals should continue to be monitored in the United States                         relationship.


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               interpretation of the data; preparation, review, and      (10):e1000352.                                           angiotensin II receptor blockers for treating
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